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                          UNITED STATES DISTRICT CO URT
                          SOUTHERN DISTRICT OF FLORIDA

                       CASE NO .18-80086-CV-M IDDLEBRO OKS
                       CASE NO .18-81549-CV-M IDDLEBRO OKS

 IN RE BITCON N ECT
 SECUR ITIES LITIGA TION ,

                                       /

 BRIAN PAIGE and
 BITCON N ECT IN V ESTOR GR OU P,

       Plaintiff,



 BITCO> ECT INTERNATIONAL PLC,
 BITCONNECT LTD,BITCONNECT
 TR AD m G LTD ,R YAN M M SEN ,

       D efendants.
                                         /

                           ORDER CONSOLIDATING CASES

       TH IS CAU SE com es before the Court sua sponte. Currently before this Court is a

 consolidated action composed of several related mem ber cases: Wildes et al. v. Bitconnect

 InternationalPLC etal,9:18-cv-80O86-DM M ,Avaloseta1.v.Bitconnect1nt'l,PLC etal,9:18-

 cv-211I8-DM M ,fong etalv.BitconnectInternational,PLC etal.,9:18-80319-DM M , and Klein

 etal.v.Bitconnectetal.,9:1B-B0512-DM M .Plaintiffsin thesefotlractionssoughttheentry ofan

 agreed orderappointing a lead plaintiff(the ûtBitcolmectInvestorGroup''),approving co-lead
 counsel(Levi& Korsinsky,LLP and SilverM iller),andthecreation ofan executivecommittee
 pursuanttothePrivateSecuritiesLitigationReform Actof1995(tTSLRA''I,15U.S.C j77z-1(a)
 and Rule42 ofthe FederalRulesofCivilProcedure.TheCourtentered theagreed orderon June

 19,2018,consolidating the fouractions,nnm ing the docketnumberforthe Lead Case as Lead
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 CaseNo.9:18-cv-80086-DM M (theliconsolidated Action''),and establishing aM asterFilefor

 theConsolidatedAction.(ConsolidatedActionDE 46).
        Brian Paige filed a classaction complaintbeforethe United StatesDistrictCourtforthe

 W estern DistrictofKentucky on January29,2018 (theCtpaigeAction'). (PaigeAction DE 1).
 Thataction,initially numbered as3:18-58-JHM ,alleged violationsofstateand federalsecurities

 laws,breach of contract,and fraud against Bitconnect InternationalPLC, Bitcolmect LTD,

 BitconnectTradingLTD,andRyanM aasen.(fJ.).BrianPaigesoughttotransferthePaigeAction
 tothisCourtin orderto forthecaseto be consolidated (PaigeAction DE 37),and theDistrict
  Courtforthe W estern DistrictofKentucky granted Paige's Unopposed M otion forTransferon

 November9,2018 (Paige Action DE 39). The Paige Action was assigned to thisCourton
  November14,2018andrentlmberedas9:18-81549-DM M .(PaigeActionDE 47).
        Rule42 oftheFederalRulesofCivilProcedurestatesthatCllilfactionsbeforethecourt
  involveacommonquestion of1aw orfact,the courtmay:(1)join forhearing ortrialanyoral1
  mattersatissuein theactions'
                             ,(2)consolidatetheactions;or(3)issueany otherordersto avoid
  urmecessary costordelay.'' Fed.R.Civ.P.42(a). Furthermore,ttdistrictcourts enjoy broad
  discretion in deciding how bestto m anage the casesbefore them a'' Chudasma v.M azda M otor

  Corp.,123 F.3d 1353,1366(11thCir.1997).A decisiontoconsolidatecasesunderRule42(a)is
  discretionary and the courtmustdetermine:

        gWlhetherthespeciticrisksofprejudiceandpossibleconfusion (areloverbomeby
        the risk ofinconsistentadjudications ofcommon factualand legalissues,the
        burden on parties,witnesses and availablejudicialresourcesposed by multiple
         law suits,the length oftim e required to conclude m ultiple suits as against a single
         one,and the relative expense to a11concem ed of the single-trial,m ultiple-trial
         altem atives.
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 Hendrix v.Raybestos-klanhattan,Inc.,776 F.2d 1492,1495(11th Cir.1985)(internalquotation

 marksandcitationsomitted)(alterationinoriginal).
            Notonlywouldfailuretoconsolidatethesecasesposedskofinconsistentadjudicationsin
 lightofthe com mon factualand legalissuesraised in both cases,butPaigehasalready stipulated

 to the appointm entof.
                      B itconnectInvestorGroup asthe Lead Plaintiffand approved itsselection

 ofcounsel. (Paige Aetion DE 35). Any prejudice to the Parties caused by consolidation is
  outweighed by therisk ofinconsistentadjudications,aswellasthe burden on the Parties and
  '
 Judicialresources.
            Accordingly,itisORDERED AND ADJUDGED thatthe above-styled casesshould be

  consolidatedasfollows:
            (1)Pursuant to this Court's Appointment of Lead Plaintiff and Co-lsead Counsel
                (ConsolidatedActionDE 46at4),Levi& Korsinsky,LLP and SilverMillerSHALL
                BE CO-LEAD COUNSEL FOR PLAINTIFF BRIAN PAIGE.

             (2)TheClerk ofCourtshallADM INISTRATIVELY CLOSE CaseNo.18-81549-cv-
                DM M and DENY AS M OO T a11pendingm otionsin thatmatter.

             (3)Allfm ttretslingsshallbemadeunderCaseNo.18-80086-cv-DM M only.
             (4)The Parties are notbound by any scheduling orders from Case Nos.18-81549-cv-

                DM M .
             SIG N ED in Cham bers,atwes
                                       tpalm Beach, Florida, '     ZdayofFebnzary,2019.




                                             D ALD M .M IDDLEBROOKS
                                             UN ITED STA TES D ISTRICT JU D GE
      Cc:    A11CounselofRecord
